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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

PHILLIP FLORES and DARAH DOUNG,
individually and on behalf of all similarly
situated individuals,

Plaintiffs,
v.

VELOCITY EXPRESS, LLC, a Wholly-
owned subsidiary of Dynamex Operations
East, LLcl, TRANSFORCE, INC., and
DYNAMEX OPERATIONS EAST, LLC,

Defendants,

Case Nos.: 3 : 12-cv-05790-JST

Assignedfor allT purposes to the Honorable Jon
S. Tigar

CASE MANAGEMENT ORDER NO. 2:
BELLWETHER TRIALS

Complaint Filed: November 9, 2012

FAC Filed: January 8, 2013
SAC Filed: July 17, 2013
TAC Filed: March 28, 2013
4‘*‘ Ac Fi1ed; June 26, 2014

 

 

 

l Formerly Dynamex Operations East, Inc.

 

 

 

CMO NO. 2

1 CASE NO. 3:12-CV-05790-JST

 

 

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Pursuant to Case Management Order No. 1, the Parties agree to conduct three bellwether
trials following the conclusion of the Plaintii`f Questionnaire Process (“PQP” or “PQ”) and prior to
any entry of any decertification Order by this Court. As such, this Case Managcment Order governs 7
the discovery and deadlines for the Bellwether Trials.

t. Case Pool: By March 25, 2016, the Parties shall identify a representative case pool
(“Case Pool”) consisting of six (6) total cases. Each side will select three (3) cases for inclusion in
the Case Pool. Neithcr Party may select a Plaintiff for the Case Pool unless that Plaintiff produced a
complete PQ no later than 120 days from the Court’s approval of the PQ. Only completed PQs are
to be produced to Defendants by Plaintiffs, and draft versions of PQs are not discoverable In the
event that Plaintiff voluntarily dismisses a Case Pool selection or Defendant agrees to settle a
beliwether case before trial, the opposing Party shall seiect a substitute case from the Case Pool.
The 'Party replacing the pick shall do so in a reasonable amount of time so as not to impact the
schedule set forth herein. Defendants shall waive personal jurisdiction over the Case Pool
Seiections.

2. Case-Sgecifrc Discove;y: Case-specific discovery on cases selected for the Case Pool
shall commence on March 28, 2016, and Will be completed by June 30, 2016, With discovery in each
case being governed by the Federai Rules of Civif Procedure, the local,rules of this Court, and any
further discovery Order(s) of this Court. Case-specific discovery shall not include witnesses called
solely for purposes of establishing damages, but damages testimony will be Within the scope of the
depositions listed above. Expert Witnesses on damages shall be deposed after the Court identifies the
representative trial cases. Plaintiffs will respond to Written and document discovery regarding
damages during case-specific discovery; however, such written discovery shall not dupiicate

information provided in the PQ.

 

 

 

CMO NO. 2 2 CAsn No. 3:12-cv-05790-JST

 

 

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Case-specific discovery on cases selected for the Case Pool may include reasonable-written
discovery targeted to adduce evidence related to the relationship between the individual Plaintiff and
Defendants. For purpose of case-specific discovery, the Parties may serve written discovery on all
Case Pool Plaintiffs and l)efendants. For purposes of this section, the three Defe_ndants shall be
construed as one -Defendant. Any discovery shall be reasonable and targeted in nature. Plaintiffs
rnay take no more than five (5) depositions of Defendants in each Case Pool case, which may
include, but are not limited to, executives, regional managers, terminal managers, supervisors, and
dispatchers. The topics to be explored by Way of these depositions shall be specific to the Case Pool
case at issue and shall not be used to duplicate or otherwise expand the scope of general merits
discovery contemplated by this, or any other, case management order. All depositions for Case Pool
selections shali be completed on or before June 30, 2016. Defendants may take up to five (5)
additional depositions, including the deposition of the Plaintiff whose case is selected as a
BellWether Trial.

3. Selection of Cases for First BellWether Tranche: On August 5, 2016, at or before
5:00 p.m. Paciiic Standard Time, each Party shall tile with the Court its proposals for one (1) case
from the opposing Party’s selections to be included in the first wave of bellwether dispositive
motions and trials (the “First BellWether Tranche”). Plaintiffs wiil choose one (1) case from among
the three (3) cases Defendants selected for inclusion in the Case Pool. Likewise, Defendants will
choose one (1) case from among the three (3) cases Plaintiffs selected for inclusion in the Case Pool.
Of the remaining four (4) cases in the Case Pool, the Court will select one (l) case to populate the
First BellWether Tranche with due regard for strength of case and geographic location. The Court
Will endeavor to make its selection on or before August 19, 2016. On or before September l, 2016,
each Party may tile a response directed to the Court’s selection. In total, the First BellWether

Tranche will include three (3) cases from the Case Pool.

 

 

 

CMO NO. 2 3 ' CAsE No. 3:12-cv-c)5790-JST

 

 

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The orderl of Bellwether Trials shall alternate between the Plaintiffs’ and Defendants’ picks,
with the Plaintiffs’ Case Pool selection being the first BellWether Trial. In the event that a Plaintiff
voluntarily dismisses a Case Pool selection or Defendants settle a bellwether case before trial, the
opposing Party shall select a substitute case from the Case Pool. Delay, if any, will be limited to that
reasonably necessary to prepare the new pick for trial. Any case resolved through summary
adjudication or motion practice that results in a final judgment shall count as a “Trial Pick” for
purposes of this paragraph

4. Expert Reports: On or before May 2, 2016, the Parties will disclose, in writing, the
identities of experts as required by Fed. R. Civ. P. 26(a)(2)(A), and Will serve expert reports and
other materials required by Fed. R. Civ. P. 26(a)(2)(B), for all cases in the First Beilwether Tranche
(including case-specific expert reports, if any). Expert Rebuttal Reports, if any, shall be served on or
before May 27, 2016. The Parties will make their designated experts available for deposition
beginning lune 20, 2016, through and including July 22, 2016.

5 . Dispositive Motions: All dispositive motions shall be filed no later than September
l6, 2016. All responses to those motions shall be filed no later than October 14, 2016, and all
replies shall be filed no later than October 28, 2016. The Court will hold a hearing to consider these
motions on or about November 7, 20l6.

6. Trial Schedule: The first bellwether trial is anticipated to be ready for trial in early
December 2016. The BellWether Trials will be before a jury and the outcome of each BellWether
Trial will not have preclusive or inferential effect beyond the individual case being tried. The Court
will issue a Scheduling Order governing all trial-related obligations, including motions in limine, on

a future date.

 

 

 

CMO NO' 2 4 CASE No. 3:12-cv-0s790-JST

 

 

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7. Schedule Pursuant to CMO No. 2:

     
     

 

 

 

 

 

 

 

 

 

 

 

 

Party identification of Case l’ool selections 7 ll 7 7 7 7 March 25, 2016
Case-specific discovery for Case Pool selections begins March 28, 2016
Expert disclosures and reports May 2, 2016 n
Expert rebuttal reports May 27, 2016
Expert deposition period begins lune 20, 2016
Case-specific discovery for Case Pool selections ends June 30, 2016
Expert deposition period ends July 22, 2016
Party identification of BellWether Trial selections August 5, 2016
Court identification of BellWether Trial selection August 19, 2016
SO ORDERED.

Dated; ?Z»'H//->' ,2015

 

JoN s 'GAR
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CMO NO` 2 ' 5 CASE NO. 3:12-CV-05790-JST

 

 

